


  Appeal by the defendant from a judgment of the Supreme Court, Queens County (Chin-Brandt, J.), rendered May 3, 2016, convicting him of attempted assault in the second degree, upon his plea of guilty, and imposing sentence. Assigned counsel has submitted a brief in accordance with Anders v California (386 US 738 [1967]), in which he moves for leave to withdraw as counsel for the appellant.
 

  Ordered that the judgment is affirmed.
 

  We are satisfied with the sufficiency of the brief filed by the defendant’s assigned counsel pursuant to Anders v California (386 US 738 [1967]), and, upon an independent review of the record, we conclude that there are no nonfrivolous issues which could be raised on appeal. Counsel’s application for leave to withdraw as counsel is, therefore, granted (see id.; Matter of Giovanni S. [Jasmin A.], 89 AD3d 252 [2011]; People v Paige, 54 AD2d 631 [1976]; cf. People v Gonzalez, 47 NY2d 606 [1979]).
 

  Dillon, J.P., Sgroi, Maltese, Barros and Christopher, JJ., concur.
 
